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 6
                           UNITED STATES BANKRUPTCY COURT
 7
 8                                   DISTRICT OF NEVADA
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                                              *****
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12
      IN RE: SILVER STATE                               Case No. 21-14978-abl (Chapter
13    BROADCASTING, LLC                                 11)
14                                                      Jointly Administered with:
      ___ AFFECTS THIS DEBTOR.                          21-14979-abl Golden State
15    ___ AFFECTS GOLDEN STATE                          Broadcasting, LLC
      BROADCASTING, LLC                                 21-14980-abl Major Market
16    ___ AFFECTS MAJOR MARKET                          Radio LLC
17    RADIO LLC                                         OPPOSITION TO
       X AFFECTS ALL DEBTORS.                           RECEIVER’S MOTION FOR
18                                                      ALLOWANCE OF
                                                        ADMINISTRATIVE CLAIM
19
                                                        and TO STIPULATION RE
20                                                      SAME ENTER INTO BY
                                                        TRUSTEE AND RECEIVER
21                                                      TODAY
                                                        Hearing Date: May 1, 2023
22
                                                        Time: 1:30 p.m.
23
        Come now Debtors herein, by counsel, who oppose the Motion of W. Lawrence
24
     Patrick (“Receiver”) as follows:
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        Facts:
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        Receiver was in place for a year to two before the Debtors filed their Chapter 11
27
     Petition. He now seeks an order of this court requiring the Trustee to pay for his
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 1   services as Receiver. Undersigned has located only one circuit level case dealing ex-
 2   pressly with the issues presented by the Receiver’s motion, being Szwak v. Earwood
 3   (In re Bodenheimer, Jones, Szwak, & Winchell L.L.P.), 592 F.3d 664 (5th Cir. 2009).
 4   As undersigned has found no bankruptcy, district or circuit level cases in this circuit
 5   which disagree with Szwak, it will be assumed good law. The receiver seeks compen-
 6   sation for both his prepetition and postpetition work, without ever clearly delineating
 7   the manner in which that work benefited the Debtors’ estate.
 8      As to the receiver’s pre and post-petition work, Szwak holds:
 9
              Appellant David Szwak appeals the district court’s order affirming the
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           bankruptcy award to Appellee Dale Earwood of $ 45,227.53 for his services
11
           and expenses as a state-law liquidator and later as a federally superseded
12
           custodian of a now-bankrupt law firm. Because the bankruptcy court failed
13
           to consider how Earwood’s services and expenses met the terms of 11 U.S.C.
14
           § 543(a) and benefited the bankruptcy estate when determining whether
15
           they qualified as an administrative expense, we hold the award to be error
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           and an abuse of the bankruptcy court’s discretion.
17
              Szwak, supra p 592 F.3d 664, 666 (5th Cir. 2009)
18

19   As to a receiver’s post-petition work, Szwak specifically holds:

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              In conclusion, the language of § 543 clearly circumscribes the actions of
21
           superseded custodians to those which are necessary to preserve the assets
22
           of the estate once a bankruptcy petition has been filed.
23
     and
24
25            However, nowhere in the relevant bankruptcy statutes does it state that
26         a superseded custodian is authorized to oppose a bankruptcy petition or to
27         employ the estate’s resources in doing so.
28
     Szwak, supra p 671.

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 1               While pre-petition services are not governed by § 543, they are governed
 2           by § 503(b)(3)(E), which allows payment from the bankruptcy estate to pre-
 3           petition custodians for services and "actual, necessary expenses." Earwood
 4           argues that because the words "benefit to the estate" are not in 503(b)(3)(E),
 5           no such requirement exists. However, we have interpreted the terms "ac-
 6           tual" and "necessary" as requiring a benefit to the estate under a related
 7           provision of § 503, despite the fact that no corresponding language is found
 8           in that provision.
 9
     Szwak, supra p 672.
10
          The receiver’s motion does not delineate the services he provided which benefited
11
     the estate and therefore should be summarily rejected.
12
          So should the stipulation reached today between the Trustee and the Receiver,1
13
     which allows the Receiver an $87,198.50 administrative claim, while otherwise leav-
14
     ing the Receiver’s general unsecured claim unimpaired. The stipulation does not de-
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     lineate the benefits received by the estate from the work done by counsel described
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     therein, nor does it consider the Debtors’ as yet unfiled counterclaims against the Re-
17
     ceiver which should be offset against any viable administrative claim. The net effect
18
     of the work done by Receiver’s attorneys was to hurt rather than help the Debtors.
19
     For example, the Receiver expended risk capital in an effort to get a windfall for the
20
     Receiver and his collaborator, VCY, which did not pan out. For other example Debtor
21
     has an $18,000,000 counterclaim against the Receiver for damages to Debtor’s San
22
     Francisco station and another $18,000,000 claim for his damage inflicted on the Las
23
     Vegas stations, not counting some $3,000,000 in counterclaims for damages to the
24
     Palm Springs market stations.
25
          Fox Rothchild was counsel for Mr. Stolz’s parent company, Royce International
26
     Broadcasting (the insured) and represented the now Debtors’ defense in the WB Mu-
27
     sic case, by assignment from Mr. Stolz’s insurance carrier, Atlantic Specialty. The
28
     1
         The stipulation may be subject to Rule 9014.


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 1   judgment entered against the now Debtors in the WB music case is precisely why we
 2   are here today. Fox Rothchild is clearly conflicted.
 3      Sciarrino and Shubert represented the Receiver in his unsuccessful efforts to wrest
 4   the licenses of radio stations away from the now Debtors and resell them to VCY.
 5   Clearly Debtors should not have to now pay for this. Such would be grossly unfair.
 6      Respectfully submitted this 17th day of April, 2023.
 7
                                                            WHITE LAW CHARTERED
 8
 9
10
                                                            By:____/s/ John White___
11
                                                               John A. White, Jr.
12                                                          Attorney for the Debtors
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